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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                               CENTRAL DIVISION
                                 AT LEXINGTON


 ACTION NO: 18-CR-19-DCR                                    ELECTRONICALLY FILED


 UNITED STATES                                                               PLAINTIFF

 VS.

 SCOTT W. SULIK                                                            DEFENDANT

                            SENTENCING MEMORANDUM
                            ON BEHALF OF SCOTT SULIK


                                ***************

        Comes now the Defendant, Scott Sulik, by and through counsel, and hereby

 submits the following Sentencing Memorandum in support of his Motion for Relief

 under 18 U.S.C. §3553(a)(2).

       In this case, Mr. Sulik admitted his guilt to cyber stalking under 18 U.S.C.

 §2261A(2). He did so in a timely manner, and in doing so, kept the Government from

 the expense of trial. From the beginning, Mr. Sulik took responsibility for his actions.

 He acknowledged the wrongfulness of his conduct. Mr. Sulik heard a comment from

 a person that denigrated a gold star family. He took offense at the comment

 considering the sacrifices made by such a family, and his former military career.

 Unfortunately, he chose to express his disgust in an inappropriate and criminal

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 manner. However, he has learned his lesson.

        While it is not disputed that the emails were inappropriate and rose to the level

 of criminal liability, there is also no evidence that Mr. Sulik ever went anywhere near

 L.G. or had any intention on acting on the statements in his emails. Even though that

 does not minimize the statements in the emails, Mr. Sulik did not attempt to carry out

 anything said in the emails.

        Upon review of his PSI, Mr. Sulik does not have a lengthy criminal history.

 However, he does have two outstanding warrants which will need to be dealt with by

 him. He had been working hard to assist his wife in her equine training, and he also

 works at day trading. Mr. Sulik is passionate about his country, and he is dedicated

 to his wife. He served honorably in our military, and he has significant medical

 problems most of which are set forth in the Presentence Investigation Report.

        He has rods in both legs as wells as plates and screws in his left hand and

 wrist, and he tends to stay in pain on a daily basis. However, he states that he has not

 been taking prescription pain medication for those injuries.

        While this is a serious crime, Mr. Sulik has not been convicted of a crime since

 2007. Granted there are two outstanding warrants from 2010 and from 2012, and he

 is presently defending another charge in this District that rose from the investigation

 in this case.

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       Mr. Sulik’s guideline range is 46-57 months. Imposing a sentence that

 provides adequate deterrence and protects the public is important. However, in

 fashioning that sentence in this case, Mr. Sulik’s limited criminal history, his love

 for his wife and the support he will have from her, hopefully weigh in favor of some

 leniency. Also, while the behavior to which he pled is clearly not acceptable, he did

 not act on any of the emails.

       In just doing an internet search regarding similar types of crimes, the following

 was found: Rene Boucher, who attacked R.P. was sentenced to 30 days, a year

 probation and a $10,000.00 fine. In August of 2011, a man was sentenced to 8 months

 in prison for threatening to kill U.S. Representative J.M. On May 11, 2018, a man

 was sentenced to 40 months in prison for threatening to assault and to murder a U.S.

 Official, S.S. in Ohio. A man in Tennessee received four (4) months incarceration

 for threatening to burn down U.S. Congressman, J.B’s, house. In April of 2018, a

 man received 15 months for leaving threatening voice mails on the machine for U.S.

 Rep. M.M. Also, the man (A.S.) who threatened to kill, M.W., a U.S. Representative

 received six (6) months of house arrest in July of 1018. While, the contents of the

 plea agreements and each defendant’s criminal history is not known, it does seem that

 a sentence below the guidelines in this case might not be an unwarranted departure.

       Mr. Sulik has been a productive member of society before, and he has the

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 support as well as vocational skills that will enable him to be so again. He also has

 previously evidenced respect for the law and the ability to follow directions which

 should increase the likelihood of him being successful upon release. These facts do

 not negate the wrongfulness of his actions, however, they are factors that can be taken

 into consideration in fashioning an appropriate and just sentence.

       Thus, considering all of the factors set forth in 18 U.S.C. §3553(a)(2) as well

 as the information contained in the Presentence Investigation Report and in this

 Memorandum, it seems as though a sentence below the guideline range would be

 sufficient but not greater than necessary to achieve the purposes of 3553(a).

                                   CONCLUSION

       Wherefore, as at the time of sentencing, and taking into account all of the

 information set forth above and set forth in the Presentence Investigation Report, Mr.

 Sulik would respectfully request that this Court vary downward from the amount of

 time he is facing. He would request no more than 24 months on Count 1. He would

 also request that this Court recommend that he be incarcerated in a facility as close

 to his family as possible ( possible FMC due to his medical problems) and for a

 medical examination. It seems very arguable that such a sentence would be sufficient

 but not greater than necessary to promote the statutory objectives as set forth above.




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                                        Respectfully submitted,

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                                        BY: /s/ RACHEL D. YAVELAK

                          CERTIFICATE OF SERVICE

       I hereby certify that on this the 28th day of August 2018, I electronically filed

 the foregoing with the Clerk of the Court by using the CM/ECF system, which will

 send a notice of electronic filing to Hon. Andy Boone.



                                                              /s/ Rachel D. Yavelak




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